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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

  ANGUS MCDOWELL, Derivatively on Behalf
  of Nominal Defendant, NATIONAL
  BEVERAGE CORP.,

                     Plaintiff,

  vs.

  GEORGE R. BRACKEN, NICK A.
  CAPORELLA, JOSEPH G. CAPORELLA,                   Case No.: 0:17-cv-61535-BB
  CECIL D. CONLEE, GREGORY P. COOK,
  SAMUEL C. HATHORN, JR., STANLEY M.
  SHERIDAN, CMA OF DELAWARE, INC., a
  Delaware Corporation, IBS PARTNERS LTD.,
  a Texas Limited Partnership, and IBS
  MANAGEMENT PARTNERS, LTD., a Texas
  Corporation,

                     Defendants,

  and

  NATIONAL BEVERAGE CORP.,

                     Nominal Defendant.


         PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
        MOTION TO DISMISS PLAINTIFF’S VERIFIED SHAREHOLDER DERIVATIVE
                                  COMPLAINT



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                                 PRELIMINARY STATEMENT

         This is a derivative action brought against National Beverage Corporation’s (“NBC” or the

  “Company”) Board of Directors (the “Board”) and certain of its executive officers (collectively

  referred to herein as the “Individual Defendants” and, with the Company, the “Defendants”), as

  well as other related entities owned and/or controlled by Defendant Nick A. Caporella (“N.

  Caporella”), NBC’s controlling shareholder, seeking to remedy the Defendants’ violations of state

  law and breaches of fiduciary duty and Section 14(a) of the Securities Exchange Act of 1934

  (“Exchange Act”) for issuing false and misleading proxy statements for fiscal years 2015, 2016

  and 2017 through the present (the “2015-2017 Proxies”).

         Defendant N. Caporella is Chairman, CEO and the beneficial owner of 73.6% of NBC’s

  outstanding common stock. N. Caporella handpicked a Board consisting of his son and three

  business associates who each have shared a longstanding business relationship with N. Caporella,

  spanning over 30 years and two different companies. This hand-picked Board was put in place to

  allow N. Caporella to funnel 1% of the Company’s annual net sales – amounting to more than $6

  million per year – to Corporate Manager Advisors, Inc. (“CMA”), another corporate entity he owns

  and which purportedly provides NBC with management and other services. N. Caporella and his

  personally selected Board then issued false and misleading proxy statements to the minority

  shareholders so he could continue to collect these management fees and used a private jet for his

  own personal use (80% of which is owned by yet another corporation he controlled) at the

  Company’s expense.

         Defendants now seek to avoid any liability for this conduct by attempting to argue that it

  is an ordinary business transaction subject to the business judgement rule. In fact, however, since

  N. Caporella was a controlling shareholder of NBC and sole owner of CMA, these transactions



                                                  1 
   
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  are subject to scrutiny under the entire fairness standard. Therefore, Defendants have the burden

  to establish that these transactions were entirely fair to minority shareholders, a burden they fail to

  carry in this motion. Therefore, Defendants’ motion should be denied.

                                                                 FACTUAL BACKGROUND

  A.            The Defendants

                NBC was founded in 1985 and produces and distributes a portfolio of beverage brands that

  are sold and distributed in the United States and abroad. NBC is dominated and controlled by its

  Chairman and Chief Executive Officer (“CEO”) Defendant N. Caporella, who is the beneficial

  owner of 73.6% of NBC’s outstanding common stock. ¶¶ 1, 16, 20.1 Defendant N. Caporella also

  wholly owns Defendant CMA, to which NBC pays a management fee of one percent (1%) of

  NBC’s net sales (“Management Fee”) each year. ¶¶ 2, 17. Defendant IBS Partners Ltd. (“IBS

  Partners”) is a Texas limited partnership whose sole general partner is IBS Management Partners,

  Inc., a company which is also wholly-owned by N. Caporella. ¶¶ 18-19. 2

                N. Caporella has used his control of the Company to pack the Board with relatives and

  longtime business associates. The Board currently consists of Defendants N. Caporella, his son

  Joseph G. Caporella (“J. Caporella”), who also has served as President since 2002 (¶ 22), together

  with three of N. Caporella’s longtime business associates: Defendants Cecil D. Conlee (“Conlee”)

  (¶ 23), Samuel C. Hathorn, Jr. (“Hathorn”) (¶ 25), and Stanley M. Sheridan (“Sheridan”) (¶ 26).

  ¶¶ 27, 108.

                As detailed below, Conlee, Hathorn and Sheridan all have longstanding business and



                                                              
  1
    All references herein to “¶__ are to the corresponding paragraphs of the Plaintiff’s Verified
  Shareholder Derivative Complaint (ECF No. 1).
  2
    IBS Partners officially owns 33,302,246 or 71.5% of the 73.6% shares of NBC stock beneficially
  owned by N. Caporella.
                                                                         2
   
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  professional relationships with N. Caporella. Specifically, Defendant Conlee served as a lead

  director of Burnup & Sims (where N. Caporella was also President, CEO and Chairman) for more

  than 20 years, served on the Company’s Strategic Planning Committee since 1995 and has served

  as an NBC director since 2009. ¶¶ 23, 108.3 Similarly, Defendant Hathorn served as a director of

  Burnup & Sims from 1981 through 1997. Hathorn also served on NBC’s Board during its

  formative years, from 1985 through September 1993. ¶¶ 25, 108. Hathorn returned to the NBC

  Board in June 1997 and has served on the Board without interruption since that time. ¶ 25.

  Likewise, Sheridan was employed by Faygo Beverages, Inc., a wholly-owned subsidiary of NBC,

  from 1974 through his retirement in 2004. Consequently, Sheridan has had a professional

  relationship with Defendant N. Caporella since at least May 1987, when Sheridan was named

  President of Faygo after it was acquired by NBC. ¶¶ 26, 108. Sheridan has served as an NBC

  director since 2009. ¶ 26. Conlee, Hathorn and Sheridan also make up the Audit Committee as

  well as the Compensation and Stock Option Committee of the Board. ¶¶ 23, 25, 26, 104. In short,

  the Board and each of its crucial committees consisted of the Company’s dominating and

  controlling shareholder, his son and three business associates with relationships stretching back

  over 30 years.4 Indeed, Conlee and Sheridan have approved the renewal of the unfair and illegal

  Management Agreement between CMA and NBC each and every year since 2009. Defendant

  Hathorn, has approved the renewal of the Management Agreement each and every year for more

  than the last 20 years.




                                                              
  3
    See also Declaration of Curtis S. Kowalk in Support of Defendants’ Motion to Dismiss Plaintiff’s
  Shareholder Derivative Complaint (“Kowalk Decl.”), Exhibit D at 6 (ECF Nos. 26 – 26-8).
  4
    The Individual Defendants consist of the Current Board Member Defendants, together with
  Defendants George R. Bracken (“Bracken”), Vice President of Finance (¶ 22), and Gregory P.
  Cook (“Cook”), Vice President – Controller and Chief Accounting Officer (¶ 24).
                                                                 3
   
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  B.            The Management Agreement With CMA

                Pursuant to a Management Agreement (“Management Agreement” or “Agreement”), the

  contents of which have never been fully disclosed to NBC Shareholders5 is described as follows

  in the 2015-2017 Proxies:

                . . . CMA provides, subject to the direction and supervision of the Board of
                Directors of the Company, (i) senior corporate functions (including supervision of
                the Company’s financial, legal, executive recruitment, internal audit and
                management information systems departments) as well as the services of a Chief
                Executive Officer and Chief Financial Officer, and (ii) services in connection
                with acquisitions, dispositions and financings by the Company, including
                identifying and profiling acquisition candidates, negotiating and structuring
                potential transactions and arranging financing for any such transaction. CMA,
                through its personnel, also provides, to the extent possible, the stimulus and
                creativity to develop an innovative and dynamic persona for the Company, its
                products and corporate image. ¶ 42 (emphasis added).

                Pursuant to this Agreement, NBC, controlled by N. Caporella, pays CMA, wholly owned

  by N. Caporella, a management fee of one percent (1%) of NBC’s net sales (“Management Fee”),

  totaling $6,458,254 for fiscal year (“FY”) 2015, and $7,047,850 for FY 2016. ¶¶ 2, 44. Because

  N. Caporella stands on both sides of this transaction, the evaluation of this Agreement is subject

  to the entire fairness standard, and Defendants bear the burden of proving that the transaction is

  fair to the Company and its minority shareholders. See Summa Corp. v. Trans World Airlines,

  Inc., 540 A.2d 403, 406 (Del. 1988) (“It is well established in Delaware that one who stands on

  both sides of a transaction has the burden of proving its entire fairness.”).

                In fact, Defendants cannot meet this standard, because the Management Agreement is

  neither fair to the corporation nor has it ever been fully disclosed to shareholders.              The



                                                              
  5
    A copy of a draft version of the Management Agreement is attached to the Complaint as Exhibit
  (“Ex.”) A. The copy was procured through a Freedom of Information Act (“FOIA”) request to the
  Securities and Exchange Commission (“SEC”). It is unsigned and is stamped “DRAFT”, and no
  final and executed version is publicly available. ¶ 2 n.4.
                                                                 4
   
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  Management Fee was purportedly paid to compensate Defendants N. Caporella and Bracken, as

  well as other undisclosed personnel provided by CMA, to fulfill each of CMA’s responsibilities

  under the Agreement. As detailed in the Complaint, however, the “senior corporate functions,”

  i.e., administrative functions (¶¶ 48-57), the “stimulus and creativity” functions (¶¶ 58-61), as well

  as the legal functions (¶¶ 62-68) required under the CMA Management Agreement were actually

  performed or duplicated by NBC employees and paid for, in whole or in part, by NBC. At the

  very least, it is unclear who does what at NBC and whether they are an employee of CMA or of

  NBC itself.

         Furthermore, even though the 2015-2017 Proxies claimed the 1% Management Fee

  covered all the services provided by CMA, in reality, the Individual Defendants failed to disclose

  and continue to fail to disclose that the Company was also paying the costs (and what those costs

  are) of providing CMA employees with healthcare, life and disability insurance (if any), any non-

  cash compensation, and any matching Company contributions that CMA employees may benefit

  from as participants in NBC’s 401K plan.          ¶¶ 9, 90.    Moreover, directly contrary to the

  representations in the 2015-2017 Proxies, “services in connection with acquisitions, dispositions

  and financings by the Company” were likewise not covered by the 1% Management Fee, but would

  result in “a[n] [additional] fee for rendering advice and expertise in connection with a significant

  transaction … negotiated on an individual basis by . . . [CMA] and the Board of Directors of the

  Company.” ¶ 6.

         Additionally, Defendants never disclosed the amount or percentage of the Management

  Fee which is used to compensate N. Caporella or any of the other personnel, except for the cash

  compensation paid to Bracken. ¶ 2. Consequently, the creation of CMA appears to be little more




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  than a structure to allow N. Caporella to syphon off 1% of the Company’s annual net sales with

  no accountability.

         Further, the Management Agreement contains an illegal “Standard of Care” clause that

  purports to exonerate CMA or any of its employees acting on its behalf in connection with its

  duties and responsibilities under the Management Agreement “for any acts or omissions of any

  kind, unless caused by intentional misconduct of . . . [CMA] engaged in by . . . [CMA] in bad

  faith.” ¶¶ 5, 71-72, 89. That is directly contrary to well-established Delaware law, which only

  permits exculpation of a company’s directors (not officers or other employees) under Section

  102(b)(7) of Delaware corporate law. The Management Agreement also contains an onerous

  termination clause that requires one year’s written notice permitting CMA to maintain day-to-day

  control of NBC’s operations for an entire year, although they have already been terminated. ¶¶

  73, 89. Finally, the Management Agreement was for a term of one year, renewable annually. ¶ 5.

  Thus, despite each of the egregious terms of the Agreement, the Board has annually approved the

  Management Agreement to automatically renew each year, allowing N. Caporella and his cronies

  to continue lining their own pockets with the proceeds.

  C.     N. Caporella’s Personal Use of the Broad River Aircraft

         The Company’s SEC filings reflect that CMA is a twenty percent (20%) owner of an

  aircraft (“Aircraft”). The same filings fail to disclose that the remainder of the Aircraft is owned

  by Broad River Aviation, Inc. (“Broad River”), an entity that is managed by Defendants N.

  Caporella and Bracken, and previously by J. Caporella. Despite NBC’s affiliation with Broad

  River, the Company has never disclosed anything about Broad River in its SEC filings, nor has the

  Company disclosed N. Caporella’s, J. Caporella’s or Bracken’s management of Broad River. ¶¶

  7, 75-76. Moreover, despite NBC’s repeated statements in its SEC filings that the only perquisite



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  provided to its employees (beyond health, retirement and insurance benefits) is a car allowance,

  N. Caporella has used the Aircraft for personal trips while NBC has foot the bill for those trips,

  including reimbursing the pilot and other CMA/NBC employees for their expenses. ¶¶ 8, 77-80,

  85 (identifying specific flights).

  D.      The False And Misleading Proxy Statements Signed by the Director Defendants

          The 2015-2017 Proxies caused to be issued by the Board violated §14(a) of the Exchange

  Act and SEC Rule 14a-9 because each contained false statements and omitted material facts

  necessary to make the discussion of the Aircraft and the perquisites offered to NBC employees not

  false and misleading. As detailed above, the 2015-2017 Proxies failed to disclose that: (i) N.

  Caporella, J. Caporella and Bracken were and/or are affiliated with Broad River; (ii) that Broad

  River is the predominant owner of the Aircraft; and (iii) that certain of the Individual Defendants

  (including, but not limited to, N. Caporella) utilized the Aircraft for personal trips. ¶ 123. The

  2015-2017 Proxies also failed to disclose the other material terms specified above in connection

  with the Management Agreement, including the illegal Standard of Care provision, onerous 1-year

  termination clause and additional fees to be earned by CMA concerning significant transactions.

  ¶ 124. Indeed, the 2015-2017 Proxies falsely assert that the 1% Management Fee includes

  “services in connection with acquisitions, dispositions and financings by the Company, including

  identifying and profiling acquisition candidates, negotiating and structuring potential transactions

  and arranging financing for any such transactions.” ¶ 89. We know this statement is false because

  the Management Agreement specifically entitles CMA to negotiate an additional fee, up and above

  the 1%, for any such significant transactions.




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                                              ARGUMENT

  A.      Standards Applicable to This Motion

          The pleading standards applicable to this motion under Rule 12(b)(6) are quite lenient.

  Spanish Broad. Sys. of Fla. v. Clear Channel Commc’ns., 376 F.3d 1065, 1070 (11th Cir. 2004).

  “To survive dismissal, the complaint’s allegations must plausibly suggest that the [plaintiff] has a

  right to relief, raising that possibility above a speculative level . . .” James River Ins. Co. v. Ground

  Down Eng’g, Inc., 540 F.3d 1270, 1274 (11th Cir. 2008) (internal quotations omitted) (citing Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1965, 167 L. Ed. 2d 929 (2007)). Once

  such a claim has been stated adequately, “it may be supported by showing any set of facts

  consistent with the allegations in the complaint.” Bell Atl. Corp., 550 U.S. at 563. Furthermore,

  on a motion to dismiss for failure to state a claim, the court must construe the complaint in the

  light most favorable to the plaintiff, accepting as true the material allegations in the complaint as

  well as any reasonable inferences to be drawn therefrom. See Kupke v. Orange County, 293 Fed.

  Appx. 695, 696 (11th Cir. 2008); Spanish Broad. Sys. of Fla., 376 F.3d at 1070. Moreover, such

  “a well-pleaded complaint may proceed even if it strikes a savvy judge that actual proof of those

  facts is improbable, and that a recovery is very remote and unlikely.” Bell Atl. Corp., 550 U.S. at

  556 (quotation omitted).

          Even in derivative actions, “notice pleading is all that is required for a valid complaint.”

  In re AFC Enters., Inc. Derivative Litig., 224 F.R.D. 515, 517 (N.D. Ga. 2004) (citing Lombard’s

  Inc. v. Prince Mfg., Inc., 753 F.2d 974, 975 (11th Cir. 1985)). Thus, even under Delaware law

  applicable to demand futility, on a motion to dismiss a derivative action, plaintiffs are not required

  to plead evidence, nor is proof of success of the merits required. Rales v. Blasband, 634 A.2d 927,

  934 (Del. 1993). In sum, “[a]lthough there is a heightened burden under Rule 23.1 to plead



                                                     8
   
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  particularized facts, when a motion to dismiss for failure to make a demand is made, all reasonable

  inferences from the pled facts must nonetheless be drawn in favor of the plaintiff in determining

  whether the plaintiff has met its burden under Aronson.” Del. Cty. Emps. Ret. Fund v. Sanchez,

  124 A.3d 1017, 1020 (Del. 2015).

         The Complaint in this action more than satisfies these standards.

  B.     The Pleading Standards Applicable to Derivative Actions

         Under Delaware law, it is well-settled that a pre-suit demand on a corporate board of

  directors need not be made if the facts alleged tend to demonstrate such a demand would have been

  futile. Aronson v. Lewis, 473 A.2d 805, 807-08 (Del. 1984), overruled in part on other grounds,

  Brehm v. Eisner, 746 A.2d 244 (Del. 2000). To establish demand futility with respect to a specific

  business decision of the Board under Aronson, the plaintiff must show either (1) a reason to doubt

  that the directors are disinterested and independent, or (2) a reason to doubt that the challenged

  transaction was the product of a valid exercise of business judgment. Aronson, 473 A.2d at 814.

  Where a complaint asserts a violation of the oversight duties of the Board, the plaintiff must show

  a reason to doubt that the board of directors could have properly exercised its independent and

  disinterested business judgment in responding to a demand. Rales, 634 A.2d at 934. Under either

  standard, demand is excused where the complaint raises a reasonable doubt that a majority of the

  directors are disinterested or independent. Id. at 930; Aronson, 473 A.2d at 807. Under this test:

         [A] court must determine whether or not the particularized factual allegations of a
         derivative stockholder complaint create a reasonable doubt that, as of the time the
         complaint is filed, the board of directors could have properly exercised its
         independent and disinterested business judgment in responding to a demand. If the
         derivative plaintiff satisfies this burden, then demand will be excused as futile.

  Rales, 634 A.2d at 934 (emphasis added). As other courts have pointed out when discussing this

  area of Delaware law: “there is no one test used to determine demand futility, since the issue is



                                                  9
   
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  fact intensive and no two cases are alike.” In re Oxford Health Plans, Inc. Sec. Litig., 192 F.R.D.

  111, 116 (S.D.N.Y. 2000) (excusing demand under Delaware law).

                As explained by the Delaware Supreme Court, “the concept of reasonable doubt is akin to

  the concept that the stockholder has a ‘reasonable belief’ that the board lacks independence. . . .”

  Grimes v. Donald, 673 A.2d 1207, 1217 n.17 (Del. 1996), overruled in part on other grounds sub

  nom., Brehm v. Eisner, 746 A.2d 244 (Del. 2000). This reasonable doubt standard “is sufficiently

  flexible and workable to provide the stockholder with ‘the keys to the courthouse’ in an appropriate

  case where [as here,] the claim is not based on mere suspicions or stated solely in conclusory

  terms.” Id. at 1217. This reasonable doubt standard promotes a strong public policy, since “the

  derivative suit . . . [is a] potent tool[] to redress the conduct of a torpid and unfaithful management.”

  Rales, 634 A.2d at 933. Such a standard is particularly appropriate in derivative suits, because

  plaintiff typically has not had the benefit of discovery. Id. at 934 (requiring probability of success

  on the merits would be “an extremely onerous burden to meet at the pleading stage without the

  benefit of discovery”).

                In sum, under well-established Delaware law, Plaintiffs need only raise “a reasonable

  doubt that, as of the time the complaint was filed, the board of directors could have properly

  exercised its independent and disinterested business judgment in responding to a demand.”

  Braddock v. Zimmerman, 906 A.2d 776, 785 (Del. 2006) (emphasis added) (citing Rales, 634 A.2d

  at 934). Defendants casually dispense with the bulk of these allegations of the Complaint by

  labeling them mere “boilerplate.” Defs’ Mem. at 12.6 It defies commonsense to expect this same

  Board to make independent and disinterested decisions regarding the viability of the claims


                                                              
  6
    All references herein to Defendants’ Motion to Dismiss Plaintiff’s Verified Shareholder
  Derivative Complaint and Incorporated Memorandum of Law shall be known as “Defs’ Mem”
  (ECF No 25).
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  asserted in the Complaint. As Defendants concede, Plaintiff need only demonstrate that three of

  the five directors are incapable of independently and disinterestedly evaluating a demand. Defs’

  Mem. at 7. The detailed factual allegations of the Complaint raise a reasonable doubt as to all

  five of the Director Defendants ability to independently and disinterestedly evaluate the claims

  asserted in the complaint, even though Plaintiff is only required to demonstrate a reason to doubt

  the independence or disinterest of a majority of the directors here, just three. Rales, 634 A.2d at

  934.7 Thus, under well-established Delaware law, any demand on such a Board would be nothing

  more than a futile gesture. See, e.g., Haseotes v. Bentas, C.A. No. 19155 NC, 2002 Del. Ch.

  LEXIS 106, at *13 (Del. Ch. Sept. 3, 2002) (“A lack of independence may be shown where the

  particularized facts pled in the complaint establish a reasonable doubt whether the director is able

  to consider impartially a demand when ‘financial, familial, or other relationships’ with the

  conflicted director are implicated.”)

                Defendants argue that demand futility must be conducted claim by claim. Such a piecemeal

  analysis is not necessary or appropriate in this action. Each of the claims asserted in the Complaint

  arise from the same common facts: N. Caporella essentially treated NBC as his private piggy bank.

  First, he created CMA to syphon off 1% of the Company’s net sales as annual compensation, to

  the tune of over $6,000,000 every year since at least FY 2012.8 Then, he used NBC to pay for his

  personal travel by private jet. Then, N. Caporella and his hand-picked Board disseminated false

  and misleading 2015-2017 Proxies to conceal these practices and the unfair Management

  Agreement from Company shareholders. As such, a holistic analysis of demand is proper in this

  case. See Del. Cty. Emps. Ret. Fund, 124 A.3d at 1022 (the “law requires that all the pled facts


                                                              
  7
    The parties agree that Delaware substantive law is applicable to the demand futility analysis. See
  Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 108-09 (1991).
  8
    Kowalk Decl., Exhibits D-F.
                                                                 11
   
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  regarding a director’s relationship to the interested party be considered in full context in making

  the, admittedly imprecise, pleading stage determination of independence.”).

  C.            Demand is Excused Because Each of the Director Defendants is Interested or Lacks
                Independence

                A particular director is disqualified from considering a demand where there is a reasonable

  doubt that he is either “interested” or lacks “independence.” Rales, 634 A.2d at 935-37. Pursuant

  to this well-established principle of Delaware law,

                Directorial interest also exists where a corporate decision will have a materially
                detrimental impact on a director, but not on the corporation or the stockholders. In
                such circumstances, a director cannot be expected to exercise his or her independent
                business judgment without being influenced by the adverse personal consequences
                resulting from the decision.

  Id. at 936 (citations omitted). Thus, a director is interested where they face a substantial likelihood

  of liability. Aronson, 473 A.2d at 815.

                Independence, on the other hand “means that a director’s decision is based on the corporate

  merits of the subject before the board rather than extraneous considerations or influences.”

  Aronson, 473 A.2d at 816 (emphasis added). A director also lacks independence where he or she

  is “beholden” to interested directors or “so under their influence that [his or her] discretion would

  be sterilized.” Rales, 634 A.2d at 935-37. (citations omitted). Among other situations, a lack of

  independence has been found where: (i) a director holds a position as an employee of the

  corporation;9 (ii) there are familiar relations which necessarily exert considerable influence over



                                                              
  9
    Rales, 634 A.2d at 937 (“there is a reasonable doubt that [an employee-director] can be expected
  to act independently considering his substantial financial stake in maintaining his current
  offices.”). See also Mizel v. Connelly, C.A. No. 16638, 1999 Del. Ch. LEXIS 157, at *8-9 (Del.
  Ch. July 22, 1999) (“Since [the employee-directors] each derive their principal income from their
  employment at [the corporation], it is doubtful that they can consider the demand on its merits
  without also pondering whether an affirmative vote would endanger their continued
  employment.”).
                                                                 12
   
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  the director;10 (iii) a corporation’s majority stockholder exerts “considerable influence” over the

  director;11 (iv) there are “current or past business, personal, and employment relationships with

  each other and the entities involved;”12 (v) there is “a clear pattern of mutual advantage” between

  the directors;13and (vi) a director receives monetary benefits.14 The fact that a director qualifies as

  an independent director pursuant to NASDAQ listing standards does not replace the need to

  perform an analysis of independence for demand futility purposes. See Kahn v. M&F Worldwide

  Corp., 88 A.3d 635, 648 n.26 (Del. 2014); Teamsters Union 25 Health Servs. & Ins. Plan v. Baiera,

  119 A.3d 44, 61 (Del. Ch. 2015). Moreover, even if no single allegation taken in isolation would

  be sufficient to raise a reasonable doubt regarding a director’s independence, the totality of a

  plaintiff’s allegations in combination may be sufficient to do so. Int’l Equity Capital Growth Fund,

  1997 Del. Ch. LEXIS 59, at *15.

                1.             Defendants N. Caporella and J. Caporella Lack Independence
                Defendants cannot, nor do they attempt to, show that Defendants N. Caporella and J.

 Caporella are not independent nor disinterested. Defs’ Mem. at 6. N. Caporella is hopelessly

                                                              
  10
     See Mizel, 1999 Del. Ch. LEXIS 157, at *12-13.
  11
     See Friedman v. Beningson, C.A. No. 12232, 1995 Del. Ch. LEXIS 154, at *15 (Del. Ch. Dec.
  4, 1995); Robbins & Co. v. A.C. Israel Enters., Inc., No. 7919, 1985 Del. Ch. LEXIS 498, at *13,
  (Del. Ch. Oct. 2, 1985) (“This Court and others have recognized that substantial minority interests
  ranging from 20% to 40% often provide the holder with working control.”).
  12
     In re New Valley Corp. Derivative Litig., C.A. No. 17649, 2001 Del. Ch. LEXIS 13, at *25 (Del.
  Ch. Jan. 11, 2001).
  13
     Int’l Equity Capital Growth Fund, L.P. v. Clegg, C.A. No. 14995, 1997 Del. Ch. LEXIS 59, at
  *14 (Del. Ch. April 21, 1997). See also Harbor Fin. Partners v. Huizenga, 751 A.2d 879, 889
  (Del. Ch. 1999) (a “long-standing pattern of mutually advantageous business relations” between
  directors raises a reasonable doubt regarding independence).
  14
     In re eBay, Inc., S’Holders Litig., C.A. No. 19988-NC, 2004 Del. Ch. LEXIS 4, at *7-11 (Del.
  Ch. Feb. 11, 2004) (finding that demand was excused as futile where a director received stock
  options, including not-yet-vested options, that created a reasonable doubt as to the director’s
  independence). See also Orman v. Cullman, 794 A.2d 5, 30 (Del. Ch. 2002) (finding that at the
  pleading stage it was reasonable to infer that consulting fees of $75,000 made the director beholden
  to the controlling shareholder for continued fees); Steiner v. Meyerson, C.A. No. 13139, 1995 Del.
  Ch. LEXIS 95, at *10 (Del. Ch. July 19, 1995).
                                                                 13
   
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 conflicted with respect to the claims related to the Management Agreement and his personal use of

 the Aircraft at the Company’s expense. Moreover, both N. Caporella and J. Caporella are highly

 paid officers and have exercised control over Broad River and the Aircraft. See Rales, 634 A.2d at

 937 (“there is a reasonable doubt that [a director] can be expected to act independently considering

 his substantial financial stake in maintaining his current offices”); In re The Student Loan Corp.

 Derivative Litig., No. 17799, 2002 Del. Ch. LEXIS 7, at *3 (Del. Ch. Jan. 8, 2002) (allegations that

 a director owes their livelihood to their employer, without elaboration on the exact compensation,

 sufficient to show lack of independence). Moreover, as the son of the controlling shareholder, J.

 Caporella is additionally conflicted. See In re EZCORP Inc., C.A. No. 9962-VCL, 2016 Del. Ch.

 LEXIS 14, at *122 (Del. Ch. Jan. 25, 2016) (“Delaware decisions have taken a realistic approach

 to the ability of a director to consider a litigation demand when moving forward with the litigation

 would have an adverse interest on a close family member”); In re Cooper Cos. S’holders Derivative

 Litig., C.A. No. 12584, 2000 Del. Ch. LEXIS 158, at *18 (Del. Ch. Oct. 31, 2000) (the “family

 relationship” between father-in-law and son-in-law “is sufficient to create a reason to doubt [the

 father-in-law’s] ability to impartially consider a demand”); Harbor Fin. Partners, 751 A.2d at 889

 (“[c]lose familial relationships between directors can create a reasonable doubt as to impartiality”);

 Mizel, 1999 Del. Ch. LEXIS 157, at *12 (“‘reasonable doubt’ is raised when a demand would

 require a director to support a suit contrary to the interests of a close family member.”).

         2.      Defendants Conlee, Hathorn and Sheridan Lack Independence Due to Their
                 Extensive Business Entanglements with N. Caporella and Related Financial
                 Interests
         Courts have recognized that longstanding business relationships may render a director

  unable to evaluate a demand independently and disinterestedly. Similarly, courts have recognized

  that financial interests and incentives may render a director unable to evaluate a demand

  independently and disinterestedly. In the present case, N. Caporella has had a strong business

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  relationship with board members Conlee, Hathorn and Sheridan that spans over three decades.

  Furthermore, Conlee, Hathorn and Sheridan have been generously compensated for their service

  on the Board through a combination of cash and stock options. Since N. Caporella is a controlling

  shareholder standing on both sides of the transactions being challenged in this litigation he clearly

  has a self-interest and is tainted precluding his independence and disinterestedness. As his son and

  family member, J. Caporella is equally infected. That is two of the five directors that suffer from

  infirmities. Plaintiff only needs to demonstrate the lack of independence or disinterestedness of

  one of the remaining three directors in order to show that making a demand upon the board is

  futile. That task is easily satisfied.

                N. Caporella was the President and CEO of Burnup & Sims from 1976 through March

  1994, as well as Chairman from 1979 through March 1994. ¶ 20. During that period, Conlee was

  the lead director of Burnup & Sims for 20 years. ¶ 23. Conlee also has served as member of the

  Company’s Strategic Planning Committee since 1995 and as a Director of the Company since

  2009. ¶ 23.15 According to NBC’s proxy statements, Conlee received compensation of $109,172

  for 2016 and $114,027 for 2015.16 Conlee has also accumulated a significant amount of common

  stock and unvested stock options throughout the years for his service on the Board. As of the 2017

  proxy statement, Conlee owned 45,048 shares with a market value of more than $4.0 million.17

                Hathorn served as a Burnup & Sims director while also serving on NBC’s Board from the

  Company’s inception in 1985 through September 1993, which includes the time period when the

  Agreement was implemented. ¶ 25. Hathorn returned to NBC’s Board in June 1997 and has

  continuously served on the Board since that time. ¶ 25. Hathorn retired in September 2007 from


                                                              
  15
     Kowalk Decl., Exhibit D at 6.
  16
     Kowalk Decl., Exhibits D and E.
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     Kowalk Decl., Exhibit D at 2.
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  his position at Trendmaker Homes, Inc. (¶ 25) and, presumably, since that time his only source of

  non-passive income is compensation he receives as an NBC director. According to NBC’s proxy

  statements, Hathorn received compensation of $65,800 for 2016 and $136,258 for 2015.18 Hathorn

  has also accumulated a significant amount of common stock and unvested stock options throughout

  the years for his service on the Board. As of the 2017 proxy statement, Hathorn owned 96,228

  shares with a market value of more than $9 million.19

                Sheridan joined Faygo Beverages, Inc. (“Faygo”), a wholly-owned subsidiary of NBC, in

  1974 as Chief Financial Officer, and was promoted to President of Faygo in May 1987 when Faygo

  was acquired by NBC. ¶ 26. Sheridan was employed by Faygo until his retirement in 2004. See

  Emerald Partners v. Berlin, C.A. No. 9700, 2003 Del. Ch. LEXIS 42, at *3 (Del. Ch. Apr. 28,

  2003) (holding that a director who had been an employee of the controller for more than ten years

  was not disinterested and independent); see also In re Freeport-McMoRan Sulphur, Inc. S’holder

  Litig., C.A. No. 16729, 2005 Del. Ch. LEXIS 96, at *43-44 (Del. Ch. June 30, 2005) (“Latiolais

  had worked for the Common Directors for almost twenty years and had become a wealthy

  individual in their employ . . . Delaware law recognizes that such extensive ties can operate as an

  exception to the general rule that past relationships do not call into question a director’s

  independence.”). Since joining NBC’s Board in 2009, Sheridan’s only source of non-passive

  income, presumably, has been from his role as an NBC director. According to NBC’s proxy

  statements, Sheridan received compensation of $54,900 for 2016 and $90,884 for 2015.20

  Sheridan has accumulated a significant amount of common stock and unvested stock options




                                                              
  18
     Kowalk Decl., Exhibits D and E.
  19
     Kowalk Decl., Exhibit D at p. 2.
  20
     Kowalk Decl., Exhibits D and E.
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  throughout the years for his service on the Board. As of the 2017 proxy statement, Sheridan owned

  37,976 shares with a market value of more than $3.6 million.21

                The Court in this instance should draw the inference that long-standing business ties across

  two companies existed between N. Caporella and Conlee extending back approximately 40 years,

  Hathorn extending back over 30 years and Sheridan extending back over 30 years.

                As explained by the Delaware Chancery Court:

                Although mere recitation of the fact of past business or personal relationships will
                not make the Court automatically question the independence of a challenged
                director, it may be possible to plead additional facts concerning the length, nature
                or extent of those previous relationships that would put in issue that director's
                ability to objectively consider the challenged transaction. See, e.g., In re Ply Gem
                Industries, Inc. Shareholders Litig., 2001 Del. Ch. LEXIS 123, Del. Ch., C.A. No.
                15779-NC, at *4, Noble, V.C. (Sept. 28, 2001) (stating that “past benefits conferred
                by [the allegedly dominating director], or conferred as the result of [that director’s]
                position with Ply Gem, may establish an obligation or debt (a sense of ‘owingness’)
                upon which a reasonable doubt as to a director's loyalty to a corporation may be
                premised”) (emphasis added); In re New Valley Corp. Derivative Litig., 2001 Del.
                Ch. LEXIS 13, Del. Ch., C.A. No. 17649, at *25, Chandler, C. (Jan. 11, 2001)
                (noting in connection with the Court's consideration of allegations of interest and
                lack of independence that, “the facts alleged in the complaint show that all the
                members of the current Board have current or past business, personal, and
                employment relationships with each other and the entities involved”) (emphasis
                added).

  Orman, 794 A.2d at 27 n.55; see also Del. Cty Emps. Ret. Fund, 124 A.3d at 1022 (“People drift

  apart for many reasons, and when a close relationship endures for that long [50 years], a pleading

  stage inference arises that it is important to the parties.”). Thus, the Court must look at all of the

  facts and draw all reasonable inferences in favor of Plaintiff to determine whether the facts

  “suggest the director might be an easy tool, deferential, glad to be of use. William T. Allen,

  Independent Directors in MBO Transactions: Are They Fact or Fantasy, 45 Bus. Law. 2055, 2061

  (1990) (quoting T.S. Eliot, The Love Song of J. Alfred Prufrock, in Collected Poems 1909-1962


                                                              
  21
       Kowalk Decl., Exhibit D at 2.
                                                                 17
   
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  (Harcourt, Brace & World 1970)).” In re EZCORP Inc., 2016 Del. Ch. LEXIS 14, at *132 (internal

  quotes omitted).

          In this case, the only reasonable inference is that when N. Caporella needed directors to

  rubber stamp the approval of the Management Agreement and look the other way when he flew

  by private jet at the Company’s expense, N. Caporella sought out business associates he had known

  for thirty plus years because they would be deferential to his control. As a result, any demand

  upon Defendants Conlee, Hathorn and Sheridan would be futile.

          Defendants reliance upon Beam v. Stewart, 845 A.2d 1040 (Del. 2004) is misplaced. Just

  as in Delaware County Employees Retirement Fund, 124 A.3d at 1022, Plaintiff “did not plead the

  kind of thin social-circle friendship, for want of a better way to put it, which was at issue in Beam.”

  Instead, Plaintiff alleged decades of business ties across two companies. “People drift apart for

  many reasons, and when a close relationship endures for that long, a pleading stage inference arises

  that it is important to the parties.” Id.

          3.      The Entire Board is Interested in the Outcome of this Litigation Because They
                  Face a Substantial Likelihood of Liability
          Delaware courts have recognized that directors are sufficiently “interested” to render

  demand futile where they face a “substantial likelihood” of liability for the wrongful conduct

  alleged in the complaint. See Rales, 634 A.2d at 936. Directors may face a such a substantial

  likelihood of liability for the issuance of false and misleading financial statements. Oxford Health,

  192 F.R.D. at 118 (demand excused where defendants violated fiduciary duties by allowing others

  to make materially false or misleading statements concerning the company’s financial matters); In

  re Cendant Corp. Derivative Action Litig., 189 F.R.D. 117, 128-29 (D.N.J. 1999) (demand excused

  where complaint alleged overstated financial results which were publicly disseminated). Demand

  is also excused where directors fail to disclose known material facts which they are obligated to


                                                    18
   
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  disclose. In re First Solar Derivative Litig., No. CV-12-00769-PHX-DGC, 2016 U.S. Dist. LEXIS

  86005, at *18 (D. Ariz. June 30, 2016).

                A director is liable for “failure of oversight” type claims where he demonstrates a
                "lack of good faith as evidenced by a sustained or systematic failure . . . to exercise
                reasonable oversight,” In re Caremark Int’l Inc. Deriv. Litig., 698 A.2d 959, 971
                (Del. Ch. 1996), or an intentional failure “to act in the face of a known duty to act,
                demonstrating a conscious disregard for his duties,” Stone v. Ritter, 911 A.2d 362,
                369 (Del. Ch. 2006) (citing In re Walt Disney Co. Deriv. Litig., 906 A.2d 27 (Del.
                2006)).

  In re Countrywide Fin. Corp. Derivative Litig., 554 F. Supp. 2d 1044, 1077 (C.D. Cal. 2008).

                In order to sustain such a Caremark claim for lack of oversight, Plaintiff must properly

  show “either (1) that the directors knew or (2) should have known that violations of law were

  occurring and, in either event, (3) that the directors took no steps in a good faith effort to prevent

  or remedy that situation, and (4) that such failure proximately resulted in the losses complained of

  . . .” McCabe v. Foley, 424 F. Supp. 2d 1315, 1323-24 (M.D. Fla. 2006) (quoting In re Caremark

  Int’l Derivative Litig., 698 A.2d at 971). Thus, “[i]n order to successfully plead a Caremark claim,

  the complaint must allege, with sufficient particularity, a ‘sustained or systematic failure of the

  board to exercise oversight - such as an utter failure to attempt to assure a reasonable information

  system exists.’” Id.; see also Gaskins v. Nahmad, Case No. 15-24707-CIV, 2017 U.S. Dist. LEXIS

  8245, at *18-20 (S.D. Fla. Jan. 19, 2017).

                In the present case, not only were Conlee, Hathorn and Sheridan members of the Board,

  but each was a member of the Audit22 and Compensation Committees of the Board. In these



                                                              
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    Under Delaware law, the substantial likelihood test is satisfied where plaintiffs allege sufficient
  facts to support the inference that an Audit Committee allowed the Company to engage in
  imprudent or unlawful conduct and breached their fiduciary duty of good faith by declining to take
  corrective action. Countrywide, 554 F. Supp. 2d at 1077; In re Abbott Labs. Derivative S’Holders
  Litig., 325 F.3d 795, 808, 809 (7th Cir. 2003); McCall v. Scott, 239 F.3d 808, 820 (6th Cir. 2001)
  (“McCall I”).
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  capacities, each year Conlee, Hathorn and Sheridan reviewed and approved the Company’s

  financial statements as well as the 2015-2017 Proxies. Nevertheless, they allowed the Company

  to issue false financial statements which concealed N. Caporella’s personal use of the Aircraft at

  the Company’s expense, and allowed the Management Agreement to be misrepresented.

  Moreover, year after year they approved the automatic renewal of the Management Agreement

  with CMA, despite the egregious terms and lack of accountability for the services provided

  thereunder. Both of these practices were not one time events, but were a “‘sustained and systematic

  failure of the board to exercise oversight,’” and therefore subject Conlee, Hathorn and Sheridan to

  a substantial likelihood of liability for breach of the “the duty of care, the duty of loyalty, and the

  duty of good faith.” In re Abbott Labs, 325 F.3d at 808, 809 (quoting Caremark, 698 A.2d at 972).

  Such a sustained and systematic failure constitutes bad faith, intentional misconduct, or a knowing

  violation of law subjecting Defendants to liability under In re Baxter International, 654 A.2d 1268,

  1270 (Del. Ch. 1995) despite the exculpatory provisions of the Company’s articles of

  incorporation. Defs’ Mem. at 12. Hathorn has taken part in the approval of the Management

  Agreement since its inception in 1992 and then every year since 1996 with the exception of a few

  years when he was not a member of the Board. See In re EZCORP Inc., 2016 Del. Ch. LEXIS 14,

  at *131 (“Roberts’ starting point for evaluating a litigation demand would not just involve one

  prior decision that he had made . . . [i]t would involve eight prior decisions. It seems reasonable

  at the pleading stage to infer that Roberts could have difficulty reversing this pattern and

  authorizing a suit.”). Furthermore, since both the Management Agreement and the Aircraft usage

  were for the benefit of a controlling shareholder, these allegations will be subject to the entire

  fairness standard and Defendants will have the burden of establishing that the Management




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  Agreement and N. Caporella’s personal use of the Aircraft were entirely fair to the minority

  shareholders, thus increasing the substantial likelihood of their liability.

  D.            Plaintiff’s Claims Related to the Management Agreement are Subject to the Entire
                Fairness Standard

                Defendants concede that controlling shareholder N. Caporella stands on both sides of the

  Management Agreement. N. Caporella is the controlling shareholder of NBC; he beneficially

  owns 73.6% of NBC’s outstanding common stock and serves as its Chairman and CEO, and

  simultaneously, is the owner and president of CMA. Accordingly, the Management Agreement

  between NBC and CMA is required to meet the entire fairness threshold, and therefore Defendants

  bear the burden of proving that the transaction is entirely fair to the minority shareholders. See

  Summa Corp., 540 A.2d at 406 (“It is well established in Delaware that one who stands on both

  sides of a transaction has the burden of proving its entire fairness.”);23 In re EZCORP Inc., 2016

  Del. Ch. LEXIS 14, at *41.

                Defendants mistakenly argue that Plaintiff asks the court to apply the entire fairness

  standard to supplant the Aronson demand futility analysis. Quite the contrary, Plaintiff instead

  asks the Court to use the entire fairness standard to properly evaluate the second prong of the

  Aronson, as has been done by Delaware Courts. See Parfi Holding AB v. Mirror Image Internet,

  Inc., 794 A.2d 1211, 1231 n. 47 (Del. Ch. 2001), rev’d on other grounds, 817 A.2d 149 (Del. 2002)

  (applying entire fairness standard under the second prong of Aronson where the director of one

  corporation also serves as a director for the other corporation in the challenged transaction).

                                                              
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    See also Ams. Mining Corp. v. Theriault, 51 A.3d 1213, 1239 (Del. 2012) (explaining that
  defendants bear the burden of proving that a transaction with the controlling stockholder was
  entirely fair to the minority stockholders); Quadrant Structured Products Co., Ltd. v. Vertin, 102
  A.3d 155, 185 (Del. Ch. 2014) (where governing standard is entire fairness the burden of proof is
  on defendants); Harbor Fin. Partners ex. rel. Rally’s Hamburgers v. Sugarman, C.A. No. 14834-
  NC, 1997 Del. Ch. LEXIS 49, at *5 (Del. Ch. Apr. 3, 1997) (“defendants . . . have the burden of
  proving that the transaction was entirely fair”).
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                1.             The Entire Fairness Standard Applies Anytime a Controlling Shareholder
                               Stands on Both Sides of a Transaction
                Under Delaware law, and contrary to Defendants’ contention limiting its application to

  squeeze-out mergers, the overwhelming majority of cases hold that the entire fairness standard

  applies anytime a controlling shareholder stands on both sides of the transaction. In re EZCORP

  Inc., 2016 Del. Ch. LEXIS 14, at *96 (applying entire fairness standard to consulting agreement

  with company owned by controlling shareholder and stating, “this decision hews to the weight of

  precedent regarding how Delaware law approaches transactions in which a controlling stockholder

  receives a non-ratable benefit.”).24


                                                              
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     See, e.g., Kahn v. Tremont Corp. (“Tremont I”), C.A. No. 12339, 1996 Del. Ch. LEXIS 40, at
  *24 (Del. Ch. Mar. 21, 1996) (applying entire fairness to Tremont Corp.’s purchase of 15% of
  stock of NL, Industries, Inc. from Valhi, Inc. where controller controlled all three corporations in
  which Chancellor Allen “rejected the defendant’s attempt to limit entire fairness review to
  squeeze-out mergers, stating that there is ‘no plausible rationale for a distinction between mergers
  and other corporate transactions and in principle I perceive none.’”); T. Rowe Price Recovery
  Fund, L.P. v. Rubin, 770 A.2d 536, 551 (Del. Ch. 2000) (applying entire fairness standard to
  services agreement between Seaman Furniture Company and another company owned by
  Seaman’s controlling shareholder where Vice Chancellor Lamb rejected defendants’ argument that
  the business judgment rule applied because the contract was “not a merger but a ‘business
  transaction.’”); Harbor Fin., 1997 Del. Ch. LEXIS 49, at *6 (applying entire fairness framework
  to a company’s repurchase of a block of its notes from its controlling shareholder and former
  Justice Jacobs, then a Vice Chancellor, explained “[t]he rule that a controlling shareholder may
  not benefit from dealings with the corporation to the detriment of other stockholders is not limited
  to mergers.”); Shandler v. DLJ Merchant Banking, Inc., C.A. No. 4797-VCS, 2010 Del. Ch.
  LEXIS 154, (Del. Ch. July 26, 2010) (applying entire fairness standard to transaction where Insilco
  Technologies, Inc. sold assets to an affiliate of Donaldson, Lufkin & Jenrette, Inc., its controlling
  shareholder); GPC XLI L.L.C. v. Loral Space & Comm’ns Consol. Litig., C.A. No. 3022-VCS,
  2008 Del. Ch. LEXIS 136, at *5 (Del. Ch. Sept. 19, 2008) (Chief Justice Strine, then a Vice
  Chancellor, applied entire fairness standard to a transaction in which company’s controlling
  shareholder invested $300 million in return for “convertible preferred stock with a high dividend
  rate and low conversion rate compared to the market comparables identified by its advisor.”); In
  re New Valley Corp., 2001 Del. Ch. LEXIS 13 (Chancellor Chandler applied entire fairness
  standard to a company’s purchase of a subsidiary from its controlling shareholder); In re Dairy
  Mart Convenience Stores, Inc., C.A. No. 14713, 1999 Del. Ch. LEXIS 94 (Del. Ch. May 24, 1999)
  (Chancellor chandler applied entire fairness standard to a transaction in which Dairy Mart
  Convenience Stores, Inc., repurchased stock from its controlling shareholder and another large
  shareholder).
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                Indeed, the Delaware Supreme Court has spoken several times on the subject. For example,

  in Kahn v. Tremont Corp. (“Tremont II”), 694 A.2d 422 (Del. 1997), the Delaware Supreme Court

  affirmed the ruling in Tremont I that the entire fairness framework provided the operative standard

  of review for the asset transfer, holding that “when a controlling shareholder stands on both sides

  of the transaction the conduct of the parties will be viewed under the more exacting standard of

  entire fairness as opposed to the more deferential business judgment standard.” Id. at 428. In

  Levco Alternative Fund Ltd. v. Reader’s Digest Association, Inc., 803 A.2d 428 (Del. 2002), the

  Delaware Supreme Court applied the entire fairness standard to a recapitalization in which a

  corporation repurchased shares from its controlling shareholder in return for a combination of cash

  and stock. Again, in Nixon v. Blackwell, 626 A.2d 1366 (Del. 1993), the Delaware Supreme Court

  applied the entire fairness standard to transactions that the controlling shareholders of E.C. Barton

  & Co. used to generate liquidity for themselves and other company employees. Further, in Summa

  Corp. v. Trans World Airlines, Inc., 540 A.2d 403 (Del. 1988), the Delaware Supreme Court

  applied the entire fairness standard to series of transactions in which Trans World Airlines, Inc.

  purchased aircraft or leased planes from its controlling shareholder. Despite the overwhelming

  case law demonstrating that the entire fairness standard applies to any transaction in which the

  controlling shareholder stands on both sides of the transaction, Defendants falsely assert that,

  “more persuasive Delaware authorities hold that the entire fairness standard is inapplicable outside

  the context of squeeze out mergers involving a controlling shareholder, where, as here, a

  stockholder vote is not required.” Defs’ Br. at 20-21. In fact, the cases that Defendants’ cite take

  the minority view and have been criticized at length by other Delaware Courts.25


                                                              
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    See In re EZCORP Inc., 2016 Del. Ch. LEXIS 14, at *16-24 (Vice Chancellor Laster criticizes
  at length the same three cases that Defendants’ reference in their motion papers, explaining that
  “[t]he defendants have found three rulings that did not apply the entire fairness framework to
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                2.             The Entire Fairness Standard Applies To The Management Agreement At
                               Issue Here

                Delaware decisions have applied the entire fairness standard to compensation

  arrangements, consulting agreements and services contracts similar to the Management Agreement

  between NBC and CMA. In the EZCORP case, Vice Chancellor Laster applied the entire fairness

  standard to a consulting arrangement between a company owned by EZCORP’s controlling

  shareholder and EZCORP which, like the Management Agreement in this case, allowed the

  controlling shareholder to reap proceeds of $5-$7 million. See In re EZCORP Inc., 2016 Del. Ch.

  LEXIS 14, at *18. In the T.Rowe Price decision, Vice Chancellor Lamb applied the entire fairness

  standard to a services agreement producing proceeds of $3-$3.5 million, and rejected the argument

  that the business judgment rule applied because the contract was “not a merger but a business

  transaction.” 770 A.2d at 550-51. Similarly, in Carlson v. Hallihan, 925 A.2d 506 (Del. Ch.

  2006), Vice Chancellor Parsons utilized the entire fairness standard in evaluating (i) compensation

  paid to a corporation’s controlling shareholder, who was also a director, (ii) management fees paid

  to affiliates of the controlling shareholder, and (iii) the failure to allocate expenses properly to

  affiliates of the controlling shareholder who received services from the corporation.




                                                              
  transactions through which a controller extracted a non-ratable benefit: Dolan, Tyson, and Canal
  . . . it appears to me that the weight of authority calls for applying the entire fairness framework
  more broadly and that the three cases are not persuasive”). Defendants also quote In re MFW
  S’holders Litig., 67 A.3d 496, 526-27 (Del. Ch. 2013), a case involving a squeeze-out merger, for
  the proposition that the business judgment rule applies outside of the merger context when a
  transaction is approved by disinterested directors acting with due care. Not only is the quote from
  MFW pure dicta as it involves a squeeze-out merger not a services contract as the case is here, it
  also requires Defendants to prove that the directors were actually disinterested and acting with due
  care, which Defendants will not be able to do. Id.


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         Defendants seemingly claim the decades old Management Agreement must be fair because

  the Company has been highly successful. To further this argument, Defendants claim the only

  choice faced by the Directors is to either continue the Agreement unchanged or to terminate it. In

  fact, a third and more reasonable alternative would be the negotiation of an amended Agreement

  by a truly independent and disinterested Board or committee thereof. The mere fact the Company

  has flourished over the past 28 years does not render the agreement entirely fair to minority

  shareholders.

         3.       Defendants Will Be Unable To Demonstrate That The Management
                  Agreement Is Fair
         NBC does not disclose the full content of the Management Agreement to the investing

  public and its shareholders. Plaintiff was only able to procure an unsigned “DRAFT” version of

  the Management Agreement through a FOIA request to the SEC. ¶ 2 n.4.    The Management

  Agreement between NBC and CMA contains many patently unfair and onerous or illegal terms

  detrimental to NBC and its minority stockholders. For example, the Management Agreement

  includes a provision related to “Standard of Care” that precludes liability by CMA or any of its

  employees acting on its behalf in connection with its duties and responsibilities under the

  Management Agreement “for any acts or omissions of any kind, unless caused by intentional

  misconduct of . . . [CMA] engaged in by . . . [CMA] in bad faith.” This provision violates Delaware

  law, which only permits exculpation clauses to apply to directors of the company. Gantler v.

  Stephens, 965 A.2d 695, 709 n.37 (Del. 2009) (“Under 8 Del. C. § 102(b)(7), a corporation may

  adopt a provision in its certificate of incorporation exculpating its directors from monetary liability

  for an adjudicated breach of their duty of care. Although legislatively possible, there currently is




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  no statutory provision authorizing comparable exculpation of corporate officers.”).26 Contrary to

  Defendants arguments, whether it is legislatively possible at some time in the future for such a

  Standard of Care clause to become acceptable, such a term currently exceeds governing Delaware

  law and is unfair to minority shareholders.

          The Management Agreement also has an onerous and unreasonable termination clause that

  provides for termination “upon one year prior written notice to the other party,” while renewing

  automatically for additional one-year periods unless terminated. This termination clause is

  especially unreasonable because it requires that NBC keep CMA as its management company,

  essentially running the company, for a year after being terminated.27 The Management Agreement

  also fails to adequately designate or identify the CMA personnel responsible for those duties

  provided to NBC in order to be able to determine whether NBC personnel are duplicating those

  duties.28

          Moreover, contrary to Defendants’ arguments, the well pled – and particularized –

  allegations of the Complaint demonstrate the Management Fee paid by NBC to CMA is excessive



                                                              
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       See Frederick Hsu Living Tr. v. ODN Holding Corp., No. 12108-VCL, 2017 Del. Ch. LEXIS
  67, at *93 (Ch. Apr. 14, 2017) (“The Complaint also supports a reasonable inference that Domeyer
  could be liable in her capacity as an officer, in which case she would not be entitled to
  exculpation.”) (citing Gantler, 695 A.2d at 709 n.37.); Amalgamated Bank v. Yahoo! Inc., 132
  A.3d 752, 787 (Del. Ch. 2016) (“There is also the possibility of a claim against Mayer in her
  capacity as an officer. Section 102(b)(7) does not authorize exculpation for officers.” (citing
  Gantler, 695 A.2d at 709 n.37.); Chen v. Howard-Anderson, 87 A.3d 648, 686 (Del. Ch. 2014)
  (“Seeley was not a director. She served only in an officer capacity as the Company’s CFO. Section
  102(b)(7) does not authorize exculpation for officers.”); In re Rural Metro Corp. Stockholders
  Litig., 88 A.3d 54, 86-87 (Del. Ch. 2014) (“The literal language of Section 102(b)(7) only covers
  directors; it does not extend to aiders and abettors . . . For similar textual reasons, the Delaware
  Supreme Court has noted that Section 102(b)(7) does not protect officers.”) (citing Gantler, 695
  A.2d at 709 n.37.). 
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     Defendants’ citation to several cases concerning substantial severance payments is a red herring.
  It’s not the amount of the severance payment that renders the termination clause onerous, it is the
  fact that CMA will continue to run the company for an entire year after being terminated.
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  and unreasonable. Under the Management Agreement, CMA receives a management fee of 1%

  of NBC’s net sales, defined as the total amount of sales less sales incentives, which amounted to

  $6,458,254 for 2015 and $7,047,850 for 2016. This amounts to more than 10% of NBC’s net

  profits for the same period. The Management Agreement only incentivizes CMA to increase sales

  but not profit. Furthermore, according to the Management Agreement, CMA will receive an

  additional undisclosed fee on top of the 1% of NBC’s net revenues for “rendering advice and

  expertise in connection with a significant transaction.” The amount of such additional fee “will

  be negotiated on an individual basis by…[CMA] and the Board of Directors of the Company.”

  This additional fee conflicts directly with the representations in the 2015-2017 Proxies that 1%

  paid to CMA includes compensation for “services in connection with acquisitions, dispositions

  and financings by the Company.”

           In sum, the Management Agreement is subject to the entire fairness standard. Defendants

  therefore have the burden of proving that the Management Agreement meets the entire fairness

  threshold, not merely that the Company has been successful while it has been in place. For the

  reasons discussed above, Defendants’ will be unable to demonstrate that the Management

  Agreement meets the entire fairness threshold because of the many patently unfair and illegal

  terms.

  E.       The Complaint Properly States a Claim for Corporate Waste

           The essence of a claim for waste of corporate assets is the diversion of corporate assets for

  improper or unnecessary purposes. Michelson v. Duncan, 407 A.2d 211, 217 (Del. 1979); Combs

  v. PriceWaterhouse Coopers, LLP, 382 F.3d 1196, 1200 (10th Cir. 2004) (holding that claims for

  corporate waste “must be brought as a derivative action”). Corporate waste “entails an exchange

  of corporate assets for consideration so disproportionately small as to lie beyond the range at which



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  any reasonable person might be willing to trade.” Brehm, 746 A.2d at 263. Most often the claim

  is based on a transfer of corporate assets that serves no purpose for the corporation or for which

  no consideration is received. Id.; see also In re Sagent Tech., Inc., Derivative Litig., 278 F. Supp.

  2d 1079, 1095 (N.D. Cal. 2003).

         The Complaint alleges that N. Caporella, as the President of Broad River, used the Aircraft

  for personal travel at the Company’s expense. Just as with the Management Agreement, since N.

  Caporella stood on both sides of the transaction, controlling both NBC and Broad River to secure

  a personal benefit, the use of the Aircraft at Company expense must also be scrutinized under the

  entire fairness standard. Defendants may be able to demonstrate in some fashion that such personal

  use provided a benefit to the corporation making it fair to minority shareholders. A minority

  shareholder, however, is likely to consider that such an extravagance serves no purpose for the

  corporation or for which no consideration was received by the corporation. Such an analysis,

  however is premature and should be left to a later stage of this proceeding. Shandler, 2010 Del.

  Ch. LEXIS 154, at *43 n.108 (denying defendants’ motion to dismiss, explaining that they could

  not “try the issue of fairness on a dismissal motion.”).

         Indeed, the reasonable inference to which Plaintiff is entitled, however, is that this practice

  continued throughout the Relevant Period – particularly in light of the fact Defendants never

  disclosed these flights or N. Caporella’s interest in and control over Broad River.

         Equally unavailing is Defendants’ reliance upon In re infoUSA, Inc. Shareholders

  Litigation, 953 A.2d 963, 987 (Del. Ch. 2007) to argue that waste is only actionable if approved

  by the board. infoUSA was decided in the demand futility context and merely held waste could

  not satisfy the second prong of the Aronson test without board approval. Id. at 972. Plaintiff,

  however, does not rely upon his waste claim for purposes of demand futility.



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  F.     The Complaint Properly States a Claim for Violation of Section 14(a)

         Section 14(a) of the Exchange Act requires that proxy statements not be false or misleading

  with regard to any material statement, nor omit to state any material fact necessary in order to

  make the statements therein not false or misleading. 15 U.S.C. § 78n(a). To state a claim for

  violation of Section 14(a) a plaintiff must allege that the defendant prepared a proxy statement

  containing a material misstatement or omission that caused the plaintiff's injury. Edward J.

  Goodman Life Income Tr. v. Jabil Circuit, Inc., 595 F. Supp. 2d 1253, 1290 (M.D. Fla. 2009),

  aff’d, 594 F.3d 783 (11th Cir. 2010). “The plaintiff must allege that ‘the proxy solicitation itself,

  rather than the particular defect in the solicitation materials, was an essential link in the

  accomplishment of the transaction.’” Id. Although not requiring scienter, a Section 14(a) claim

  requires an allegation that the defendant negligently drafted the proxy statement. Id. Moreover,

  even if the PSLRA applies to Plaintiff’s Section 14(a) claims, the required state of mind for a

  Section 14(a) claim is negligence, however, not knowledge or deliberate recklessness. Therefore,

  even under the PSLRA, a plaintiff need only plead particularized facts that give rise to a strong

  inference of negligence. Hutton v. McDaniel, No. CV-17-00727-PHX-JAT, 2017 U.S. Dist.

  LEXIS 137869, at *33 (D. Az. Aug. 28, 2017). The well pled allegations of the Complaint satisfy

  each of these elements.

         As detailed above, the 2015-2017 Proxies failed to disclose that (i) N. Caporella, J.

  Caporella and Bracken were or are affiliated with Broad River; (ii) that Broad River is the

  predominant owner of the Aircraft; and (iii) that certain of the Individual Defendants (including,

  but not limited to, N. Caporella) utilized the Aircraft for personal trips. ¶ 123. The 2015-2017

  Proxies also failed to disclose the other material terms specified above in connection the

  Management Agreement, most notably, additional fees to be earned by CMA concerning



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  significant transactions, which is directly contrary to the representations as set forth in the 2015-

  2017 Proxies. ¶ 124.

         Defendants claim that Plaintiff is attempting to create a "freestanding completeness

  requirement." Defs’ Brf. at 25. Quite the contrary, Defendants chose to speak on each of these

  topics in the 2015-2017 Proxies and consequently, they had a duty to not omit any material facts

  necessary in order to make the statements therein not false or misleading. 15 U.S.C. § 78n(a).

         1.      False Statements Regarding the Aircraft
         Defendants chose to claim in the 2015-2017 Proxies that the only perquisite provided to its

  employees (beyond health, retirement and insurance benefits) is a car allowance. Nevertheless, N.

  Caporella used the Aircraft for personal trips at NBC expense. ¶¶ 8, 77-80, 85 (identifying specific

  flights). Plaintiff does not claim that Defendants had an obligation to disclose this freebie under

  Item 402 of Regulation S-K relating to executive compensation (17 C.F.R. § 229.402), as

  Defendants would suggest. Rather, when Defendants chose to disclose employee perquisites, they

  were not allowed to pick and choose which ones were disclosed. This omission was exacerbated

  by Defendants’ failure to disclose that Broad River was the majority owner of the Aircraft and that

  N. Caporella and J. Caporella controlled Broad River.

         2.      False Statements Related to the Management Agreement
         Similarly, Defendants chose to state affirmatively that the 1% Management Fee paid to

  CMA included “services in connection with acquisitions, dispositions and financings by the

  Company.” ¶ 42. This statement was false because the Agreement expressly states that these

  services entitled CMA to additional fees to be negotiated. Complaint Ex. A. According to the

  Agreement, CMA will receive an additional fee on top of the 1% of NBC’s net revenues for

  “rendering advice and expertise in connection with a significant transaction.” The amount of such

  additional fee “will be negotiated on an individual basis by . . . [CMA] and the Board of Directors

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  of the Company.”    There is no question that the Individual Defendants, especially those on the

  Board, knew what the CMA Agreement stated and that it contained provisions contrary to what

  was in the 2015-2017 Proxies.

         3.      Plaintiff Has Alleged Loss Causation
         Contrary to Defendants’ arguments, Plaintiff has alleged loss causation. Courts have

  recognized that a complaint properly alleges loss causation, i.e., that the “that the transactions

  approved by shareholders harmed the company,” where the false and misleading Proxy resulted in

  the approval of incentive compensation (In re Wells Fargo & Co. S’holder Derivative Litig., No.

  16-cv-05541-JST, 2017 U.S. Dist. LEXIS 164824, at*63 (N.D. Cal. Oct. 4, 2017)) or where

  directors were elected based upon false and misleading financial information. See Countrywide,

  554 F. Supp. 2d at 1077 (“Shareholders would reasonably consider the Company's financial

  performance in deciding whether to reelect the directors.”).

         In the present case, Plaintiff does not allege that the 2015-2017 Proxies failed to disclose

  mere mismanagement or the failure to follow company policies as in In re Home Depot

  Shareholder Derivative Litigation, 223 F. Supp. 3d 1317, 1331 (N.D. Ga. 2016) and General

  Electric Co. v. Cathcart, 980 F.2d 927, 933 (3d Cir. 1992), both of which were cited by

  Defendants. Rather, as in Wells Fargo and Countrywide, the Complaint alleges that Defendants

  failed to disclose material facts pertaining to the perquisites and the additional compensation under

  the Management Agreement – both provided directly or indirectly to the controlling shareholder.

         Equally ludicrous is Defendants’ arguments that the false and misleading 2015-2017

  Proxies could not have caused damage to minority shareholders since N. Caporella has sufficient

  shareholdings to elect his chosen slate of directors regardless of the Proxy. Section 14(a)’s

  prohibition on false and misleading proxy statements is even more crucial in the presence of a

  controlling shareholder.

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          4.     The Complaint Alleges Facts Giving Rise to a Strong Inference of Negligence.
         Even if the PSLRA is applied to Section 14(a) claims, as discussed above, the Complaint

  need only allege facts which give rise to a strong inference of negligence, not scienter. Hutton,

  2017 U.S. Dist. LEXIS 137869, at *33. N. Caporella and J. Caporella were officers and directors

  of NBC and controlled Broad River. Conlee, Hathorn and Sheridan were Directors and members

  of the Audit Committee. Based upon the positions of the Defendants and their attendance at Board

  and Audit Committee meetings, the only reasonable inference that can be drawn is that Defendants

  were, at a minimum, negligent to not know the false and misleading nature of their statements (1)

  that a car allowance was the only perquisite given to N. Caporella; or (2) that CMA’s service for

  significant transactions was included in the 1% Management Fee.

                                          CONCLUSION

         For each of the foregoing reasons, Defendants’ motion to dismiss should be denied in its

  entirety.

  Dated: January 8, 2018                              Respectfully submitted,
                                                      /s/ Christopher S. Polaszek
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                                     REQUEST FOR HEARING

         Plaintiff respectfully requests a hearing because they believe it may assist the Court in

  addressing the issues involved in this shareholder derivative action. Thus, pursuant to Local

  Rule 7.1(b)(2), Plaintiff requests a hearing consisting of twenty (20) minutes per side, with an

  additional five (5) minutes for rebuttal.

  Dated: January 8, 2018                               Respectfully submitted,
                                                       /s/ Christopher S. Polaszek
                                                       Christopher S. Polaszek, Esq.

                                                       Attorney for Plaintiffs




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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing and the following was

  electronically field through the Electronic Case Filing System (CM/ECF) and served by Notice of

  Electronic Filing generated by CM/ECF, on January 8, 2018, on all counsel or parties of record on

  the Service List below.

  Dated: January 8, 2018                              Respectfully submitted,
                                                      /s/ Christopher S. Polaszek
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